Case 2:18-cV-0516O-I\/|SG Document 1 Filed 11/29/18 Page 1 of 22

JS 44 (Rev. 06/17)

CIVIL C()VER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law except as

provided by local rules of court

purpose of initiating the civil docket sheet

This form approved by the Judicial Conference of the United States in September 1974 is required for the use of the Clerk of Court for the
(SEE INSTRUCTIONS ON NEX'I PAGE OF THIS FORM)

 

I. (a) PLAINTIFFS
David Hopkins

(b) County of Residence of First Listed Plaintiff
(EXCEPTIN U.S. PLAINT[FF CASES)

H$) Athl'IieyS (Firm Name, Addres.s, and Te/ephone Number)
SC afkopf LaW LLC, 11 Baia Ave Ba|a Cynwyd PA 19004; 610- 664- 5200

Weisberg Law, 7 S. Morton Ave Morton PA19107; 610- 690- 0801
Mi|denberg Law, 1735 Market Street Ste 3750; 215-545-4870

CP}B§M|]|?¢)Q§&S@ d/b/a Phi|adeiphia Po|ice Department; Captin
I\/|ark Burgmann; Sergeant Col|een i\/|ichvech and John Does

County of Residence of First Listed Defendant
(IN U.S. PLAINT]FF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

A‘C'tOITleyS (lfKnown)

 

 

II. BASIS OF JURISDICTION (P/ace an “X” in One Box Only)

ij 1 U.S, Government
Plaintiff

|:l 2 U¢S. Govemment
Defenda.nt

III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an ‘X" m One Boxfor Plaimij”
(For Diversi`ry Cases O)i/y) and One Baxfor Defendant)
al 3 Federai Quesmm PTF DEF PTF DEF
(U,S, Govemmenl Nol a Party) Citizen ofThis State g 1 ix 1 Incorporated or Principal Place ij 4 D 4
of Business In This State

ij 4 Diversity Citizen of Another State ij 2 ij 2 Incorporated and Principal Place L'_l 5 ij 5

(]ndicale Cilizenship quarfies in Ilem 111) of Busiliess In Another State
Citizen or Subject of a |:] 3 ij 3 Foreign Nation ij 6 |:I 6

Foi'e_ign Countrv

 

 

 

110 Insura.nce

120 Marine

130 Miller Act

140 Negotiable lnstmment

150 Recovery of Overpayment
& Enforcement of Judgment

151 Medicare Aet

152 Recovery of Defaulted
Student Loaus
(Excludes Veterans)

153 Recovery of Overpayment
of Veteran’s Benths

160 Stockholders’ Suits

190 Other Contract

195 Contract Product Liability

196 Franchise

i;lCl UEIU[;|CI

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Cl 210 Land Condem.nation

ij 220 Foreclosure

[l 230 Rent Lease & Ejectmerit
ij 240 Torts to Land

ij 245 Tort Product Liability
g 290 All Other Rea] Property

 

IV. NATURE OF SUIT (P/ace an “X' in One Box On[y)

 
 

  
 

Click here for: Nature of Suit Code Descri otions

 

[l 375 False Claims Act
[1 376 Qui Tam (31 USC
3729(a))

Cl 422 Appea128 USC 158
ij 423 W1t11drawa1

PERSONAL INJURY
[1 365 Persona] Injury -
Product Liability

PERSONAL INJURY
111 310 Airplarie
111 315 Airplaue Product

ij 625 Drug Related Seizure
of Property 21 USC 881
i:l 690 Other

28 USC 157

 
   

  
 

 

 

Liability |:l 367 Health Care/ |:| 400 State Reapportionrnent
Cl 320 Assault, Libel & Phannaceutical ’ Cl 410 Antitrust
Slander Personal Injury D 820 Copynghts ij 430 Banks and Banking
D 330 Federal Employers’ Product Liability i_'_l 830 Patent Cl 450 Commerce
Liability ij 368 Asbestos Personal EI 835 Patent - Abbreviated ij 460 Deportation
|:l 340 Marine Injuxy Product New Drug Application ij 470 Racketeer Influenced and
ij 345 Ma.rine Product Liability g 840 Trademarl< Corrupt Organizations
Liability PERSONAL PROPER'I`Y ' l 4 ,~ ’ ,, ,, ij 480 Consumer Credit
g 350 Motor Vehicle i:l 370 Other Fraud ij 710 Fajr Labor Standards ij 861 HIA (1395{‘£) D 490 Cable/Sat TV
Cl 355 Motor Vehiele ij 371 Truth in Lendjng Aet |J 862 Black Lung (923) Cl 850 Securities/Commodities/
Product Liability ij 380 Other Personal Cl 720 Labor/Ma.nagement ij 863 DIWC/DIWW (405(g)) Exchange
CI 360 Other Personal Property Damage Relations fl 864 SSID Title XVI ij 890 Other Statutory Actions
lnjury ij 385 Property Daruage El 740 Railway Labor Act Cl 865 RSI (405(g)) ij 891 Agn`cultural Acts
Product Liability El 751 Family and Medical \j 893 Environmental Matters

ij 362 Persona1 Injury ~
al

i'_`l 895 Freedom of Information
Act
ij 896 Arbitration

Leave Act
D 790 Other Labor Litigation
U 791 Employee Retirement

 

 

D 870 Taxes (U S Plaintiff

 

Habeas Corpus:

 

ij 440 Ot.her Clvil Rights

\'J 441 Voting ij 463 Alien Detainee Income Security Act or Defendant) ij 899 Administrative Procedure
ij 442 Employment \J 510 Motions to Vacate ij 871 IRS_Third Pa.rty Aet/Review or Appeal of
ij 443 Housing/ Sentence 26 USC 7609 Agency Decision

 

Accomrnodations ij 530 General D 950 Constirutionality of
ix 445 Amer. w/Disabilities - i_'_l 535 Death Penalty State Statutes
Employment Other:

ij 446 Arner. w/Disabilities - ij 540 Maudamus & Other
Other ij 550 Civil Rights
Cl 448 Education ij 555 Prison Condition
D 560 Civil Detairiee -
Conditions of
Confinement

|:l 465 Other Immigration
Actions

 

 

 

 

V. ORIGIN (Place an "X" in

One Box Only)

g 1 Original Cl 2 Rernoved from ij 3 Remanded from ij 4 Reinstated or Cl 5 Transfen-ed from |:l 6 Multidistrict ij 8 Multid_istrict
Proceeding State Court Appellate Court Reopened Another Djstrjct Litigation - L_itigation -
(specijy) Transfer Direct File

 

VI. CAUSE OF ACTION

Cite the U.S. Clvil Stafute under Which you are filing (Do not cite jurisdictional statutes unless diversity)j
Tit|e V||, 42 USC 1981 and 1983; ADA and F|\/|LA Aet

Brief description of cause

Plaintif'f has been discriminated against and retaliated against for having a disability

 

 

 

 

 

 

 

   

VII. REQUESTED IN 13 cHECK 111 rHrs rs A cLAss ACTION DEMAND $ CHECK YES Orlly if demanded in complaint
COMPLAINT: UNDER RULE 23, F.R.Cv»P. JURY DEMAan 1:1 Yes 1:1N0
VIII. RELATED CASE(S) 4 4
IF ANY (See mmmm)` JUDGE DOCKET NUMBER
DATE SIGNA£EURE OF NQORWY 019 REGOBD
11/27/2018 f’;£., »?19~ f '
FOR OFFICE USE ONLY `
59 ” ’
RECEIPT # AMOUNT §APPL¥ING IFP “ JUDGE MAG. JUDGE

 

 

 

 

 

 

Case 2:18-0\/- 05160- |\/|SG Document 1 Filed 11/29/18 Page 2 of 22
UNITED srArEs i)isrchr coURr

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintijj" to indicate the category ofthe case for the purpose of assignment to the appropriate calendar)
Address Ofplaimiff: 271 Grace Lane, Har|eysvi|le PA 19438

 

Address OfDefendant: 750 Race Street Phi|adelphia PA 19106

 

Phi|adelphia Police Department Specia| Victims Unit Offices

Place of Accident, Incident or Transaction:

 

 

RELA TED CASE, IFANY:

Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

1. ls this case related to property included in an earlier numbered suit pending or within one year Yes |:| No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes |::| No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes l::| No
numbered case pending or within one year previously terminated action of this court?

4. ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes |::| No
case filed by the same individual?

1 certify that, to my knowledge, the within case l:l is / l_T_I is not related to any case now pending or within one year previously terminated action in
this court except as noted above. '
83362

   

 

 

 

DATE; 11/27/2018 4 4 l ,/ ,
fttomey-at -Law /B’i'o Se thin§# Attorney I.D. # (1`f applicable)

 

 

’-.

 

cIvIL: (Piac¢ a \/ in one category oniy)

 

 

 

 

 

A. F ederal Quesi‘ion Cases: B. Diversity Jurisdiction Cases:
m 1 Indemnity Contract, Marine Contract, and All Other Contracts |___l 1. lnsurance Contract and Other Contracts
|'_`| 2 FELA [:] 2. Airpiane Personai injury
l:l 3 Jones Act-Personal Injury |:l 3. Assault, Defarnation
m 4 Antitrust m 4. Marine Personal Injury
m 5 Patent |:] 5. Motor Vehicle Personal Injury
|:l 6 Labor-Management Relations |:i 6. Other Personal Injury (Please specijjv):
7 Civil Rights |:| 7. Products Liability
|:l 8 Habeas Corpus m 8. Products Liability - Asbestos
|:] 9. Securities Act(s) Cases |:| 9. All other Diversity Cases
|:1 10. Social Security Review Cases (Pleas€ SP€C"J‘j’)-`
|:| 11. All other Federal Question Cases
(Please specijj/).'
ARBITRATION CERTIFICATION

(The effect of this certification is la remove the case from eligibility for arbitration.)

1, Gary Schafko pf , counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(0) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is sought.

83362

Attorney I. D. # (z'fappll'cable)

TE: 11/27/2018

 

NOTE; A trial de novo will be a trial by jury only if there has been compliance with F R C P 38

 

 

Civ, 609 (5/2018)

 

 

Case 2:18-cV-0516O-I\/|SG Document 1 Filed 11/29/18 Page 3 of 22

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM
Denise Anselmo CIVIL ACTION

V

City of Phiadelphia d/b/a

Phi|adelphia Po|ice Department, et al. NO'

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1103 of the plan set forth on the reverse
side of this form.) ln the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Forrn specifying the track
to which that defendant believes the case should be assigned

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus ~ Cases brought under 28 U.S.C. § 2241 through § 2255 . ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration ~ Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

 

 

management cases.) ( )
(t) Standard Management - Cases that do not fall into any one of the other tracks. (>§f
11-27-18 Gary Schafkopf, Esq P|aintiff
Date Attorney-at-law Attorney for
610-664-52()() 888'283`1334 qarv@schaf|aw.com
T_elephone FAX Number E-Mail Address

(civ. 660) 10/02

 

 

Case 2:18-cV-0516O-I\/|SG Document 1 Filed 11/29/18 Page 4 of 22

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Fax: 215-545-4871

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Attorney ID No. 85 570

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Attorney for Plaintiff

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SCHAFKOPF LAW, LLC
Attorney ID No. 83362

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Bala Cynwyd, PA 19004
610-664-5200 Ext 104

Fax: 888-283-1334
Attorney for Plaintiff

IN THE UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF PENNSYLVANIA

 

DENISE ANSELMO
271 Grace Lane
Harleysville, Pennsylvania 19438

Plaintiff,
v.

CITY OF PHILADELPHIA
d/b/a PHILADELPHIA POLICE
DEPARTMENT

750 Race Street

Philadelphia, Pennsylvania 19106

and

CAPTAIN MARK BURGMANN

in his individual and official capacity as

a Captain and Commanding Officer for the
PHILADELPHIA POLICE DEPARTMENT
300 E. Hunting Park

Philadelphia, Pennsylvania l 9 1 24

and

CIVIL COMPLAINT NO.

JURY TRIAL OF TWELVE (12)
DEMANDED

 

 

 

 

 

Case 2:18-cV-O516O-I\/|SG Document 1 Filed 11/29/18 Page 5 of 22

SERGEANT COLLEEN MICHVECH
in her individual and official capacity

as a Sergeant for the PHILADELPHIA
POLICE DEPARTMENT

300 E. Hunting Park

Philadelphia, Pennsylvania 19124

and
JOHN/JANE DOES 1-10

Defendants.

 

CIVIL ACTION
INTRODUCTION

Denise Anselmo (Plaintiff) brings this action against her employer, the City of Philadelphia,
Captain Mark Burgmann, and Sergeant Colleen Michvech (collectively, the Defendants) for
violations of 42 U.S.C. § 1981 and § 1983. Specifically, Defendants: retaliated against Plaintiff
in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000(€) et seq. because
Plaintiff filed a complaint in 2016 alleging unlawful gender discrimination; committed multiple
violations of the Americans With Disabilities Act (ADA) based on Plaintiff s disability (l\/lultiple
Sclerosis), 42 U.S.C. § 12101 et seq.; violated Plaintiffs rights under the Family & Medical
Leavc Act of 1993 (FMLA), 29 U.S.C. § 2601 §t_S_§g.; discriminated and retaliated against
Plaintiff, in violation of the Pennsylvania Human Rights Act (PHRA), 43 Pa. Stat. § 951 et seq.;
and discriminated and retaliated against Plaintiff, in violation of the Philadelphia Fair Practices
Ordinance (PFPO), Philadelphia Code § 9-1101 et seq.

PARTIES

1. Plaintiff Denise Anselmo is an adult female, residing in Harleysville, Pennsylvania

 

 

Case 2:18-cV-O516O-I\/|SG Document 1 Filed 11/29/18 Page 6 of 22

. Defendant City of Philadelphia, doing business as the Philadelphia Police Department
(PPD), is a government agency located in Philadelphia, Pennsylvania

. Defendant Mark Burgmann is an adult male who, at all relevant times, acted individually
an_d in his capacity as a Captain and Commanding Officer (CO) of the PPD's Special
Victims Unit making him an agent, servant or employee of the PPD.

. Defendant Colleen Michvech is an adult female who, at all relevant times, acted
individually a_n_d in her capacity as a Sergeant in the PPD's Special Victims Unit making

her an agent, servant or employee of the PPD.

. Defendants John and lane Does 1-10 are fictitious names for individuals and/or entities

. The causes of action which form the basis of this mater arise under Title Vll of the Civil

currently unknown but will be identified and substituted if they become known as
affiliated, associated or liable in this matter for the reasons set forth below or inferred
therefrom Each of these individuals and/or entities are incorporated as Defendants in

each count averred herein.

JURISDICTION AND VENUE

Rights Act of 1964, 42 U.S.C. § 2000(e) et seq. ; 42 U.S.C. § 1983; the Americans With

Disabilities Act (ADA), 42 U.S.C. § 12101 et seq.; the Family and Medical Leave Act of

 

1993 (FMLA), 29 U.S.C. § 2601 et seq.; the Pennsylvania Human Rights Aet (PHRA),

43 Pa. Stat. § 951 et seq.; and the Philadelphia Fair Practices Ordinance (PFPO),

 

Philadelphia Code § 9-1101 et seq.
. The District Court has jurisdictionover Count 1 (Title VII) pursuant to 42 U.S.C. §
2000(e) et seq. and 28 U.S.C. § 1331.

. The District Court has jurisdiction over Counts 11, 111 and IV (ADA) pursuant to 42

 

U.S.C. § 12101 etseq. and 28 U.S.C. § 1331.

 

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Case 2:18-cV-O516O-I\/|SG Document 1 Filed 11/29/18 Page 7 of 22

The District Court has jurisdiction over Count V (FMLA) pursuant to 29 U.S.C. § 2601 et
seq. and 28 U.S.C. § 1331.

The District Court has jurisdiction over Count Vl (Section 1983) pursuant to 28 U.S.C. §
1331, §1333, and§ 1343.

The District Court has supplemental jurisdiction over Count VII (PHRA) pursuant to 28
U.S.C. § 1367.

The District Court has supplemental jurisdiction over Count VIII (PFPO) pursuant to 28
U.S.C. § 1367.

Venue is proper in the District Court under 28 U.S.C. § 1391(b) and 42 U.S.C. § 2000(€)-

5(1).
All conditions precedent have been satisfied On August 31, 2018, the U.S. Equal

Employment Opportunity Commission (EEOC) issued Plaintiff a Right to Sue Letter.
FACTUAL ALLEGATIONS

ln 2008, the PPD hired Plaintiff as a police officer.

In 2014, Plaintiff was assigned to the PPD's Special Victims Unit.

At all relevant times, Defendant Burgmann was -- and still is --the Captain and CO of the
Special Victims Unit.

While in the Special Victims Unit, Plaintiffs then-supervising Lieutenant subjected her to
adverse and disparate treatment that was gender-based

1n or about 2016, Plaintiff filed a discrimination complaint with the PPD's Internal
Affairs Department (IAD) detailing the Lieutenant's harassing and gender-based
misconduct.

PPD protocol required that the Plaintiffs complaint be routed through her chain of

command before it is reviewed and investigated by the IAD. As Plaintiffs Captain and

 

 

 

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Case 2:18-cV-O516O-I\/|SG Document 1 Filed 11/29/18 Page 8 of 22

CO, Defendant Burgmann received Plaintiffs complaint before it was actually submitted
to the IAD.

At all times since Plaintiff filed her gender discrimination complaint, Defendant
Burgmann has engaged in a pattern of harassment against Plaintiff Said harassment
consists of yelling, bullying, threatening and berating Plaintiff to such a degree that
Plaintiff is forced to work in an environment that is hostile and anxiety-ridden

On December 9, 2016, Plaintiff filed a request for a transfer out of the Special Victims
Unit because of Defendant Burgmann's continuing harassment, but Defendant Burgmann
impeded the process and held up her request

1n 2016, Plaintiff began experiencing muscle weakness, back pain, and tingling
sensations in her feet.

Plaintiffs doctors could not identify a cause for her symptoms.

Plaintiff was assigned off-duty detail to work the 2017 New Year’s Parade (2017 Parade
Detail).

Plaintiff sought medical advice from two of her doctors out of concern that if She worked
the 2017 Parade Detail, her physical weakness may cause further injury or otherwise
prevent her from responding quickly in the event of a disturbance On the other hand,
Plaintiff was perfectly willing to work the 2017 Parade Detail, if her doctors approved it.
Plaintiffs two doctors advised against her working the 2017 Parade Detail and wrote
notes recommending that Plaintiff be excused from the assignment

Plaintiff did not work the 2017 Parade Detail.

When Plaintiff returned to work, Defendant Burgmann berated and humiliated her about

her medical condition and ordered her to see the PPD's doctor.

 

 

 

 

 

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Defendant Burgmann also ordered Plaintiff to complete a worker’s compensation injury
form, even though Plaintiff insisted that her medical issues were not due to a workplace
injury.

Defendant Burgmann obstinater refused to accept Plaintiffs word that her medical
issues were unrelated to her workplace He continued to berate and yell at Plaintiff and
insisted that she complete the workers compensation injury form.

Plaintiff was told that she could not return to work until she went to the PPD doctor.
That same day, Plaintiff s work schedule was suddenly changed which resulted in her
forfeiting overtime pay for her appearance in court that morning

When Plaintiff appeared at the PPD doctor's office, she was sent away. The office
explained to Plaintiff that Defendant Burgmann was wrong to send her to their office.
When Plaintiff returned to work, Defendant Burgmann called her into his office and
argued with Plaintiff over her medical condition After learning that Plaintiff had reached
out to her union representative at the Fraternal Order of Police (FOP), Defendant
Burgmann made a sarcastic remark.

ln or around February 2017, Defendant Michvech was assigned to the Special Victims
Unit.

The Special Victims Unit apparently portrayed Plaintiff in an unflattering manner
because Defendant Michvech freely admitted to Plaintiff: "Yeah they told me about the
complaint and all the other stuff when 1 got here."

On March 9, 2017, after months of medical tests and speculation, Plaintiff s doctors

diagnosed her with Multiple Sclerosis (MS).

 

 

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Soon after learning her diagnosis, Plaintiff informed her supervisor, Lieutenant Thomas
Smith. Lieutenant Smith suggested to Plaintiff that she keep the diagnosis to herself
because PPD staff were prone to gossip.

Lieutenant Smith never asked Plaintiff if She needed a medical accommodation or time
off for medical treatment.

Plaintiff informed Defendant Michvech of her MS and expressed dismay over Defendant
Burgmann's mistreatment when Plaintiff provided two doctor's notes recommending that
she be excused from the 2017 Parade Detail.

Defendant Michvech was dismissive of Plaintiff s characterization and said: "Well, you
can't call out on a detail."

Yet, Plaintiff never "called out" on the 2017 Parade Detail but provided the PPD advance
notice with two doctor's notes.

On another occasion, when Plaintiff complained that she was the sole officer working in
the Special Victims Unit on a particular day, Defendant Michvech directed that Plaintiff
utilize counseling services through the PPD's confidential Employee Assistance Program
(EAP).
Notwithstanding the fact that EAP's services are confidential and PPD is obliged to
maintain confidentiality, Defendant Michvech told other office staff. Plaintiff was
shocked and dumbfounded when Officer Vondel Cooke asked Plaintiff: "How did EAP
go?"

When an officer is scheduled to appear in court, PPD policy requires that the officer

report to the office before going to court. While Plaintiff was expected and required to

 

 

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follow the policy, Defendant Michvech allowed other officers in her unit to ignore the
policy, forego the office and go directly to court.

In January 2018, Plaintiff had a flat tire on Interstate 476 during work hours. She phoned
two supervisors (one being Defendant Michvech) and explained to them what happened
and that she needed to get her tire replaced She requested some time off to take care of
the flat tire.

The two supervisors were confused as to whether Plaintiff could use sick time or
emergency vacation time.

Neither Defendant Burgmann nor the two supervisors disputed that Plaintiff called in and
explained that she had a flat tire.

Yet, after the 1-476 incident, Defendant Burgmann called Plaintiff into his office.
Defendant Michvech was also present

Neither Defendant suggested or advised Plaintiff that she could have a union
representative at the meeting

Notwithstanding the fact that Defendant Burgmann never disputed that Plaintiff called in
to two supervisors when she had the flat tire, he proceeded to yell at Plaintiff and threaten
her with discipline for abusing sick leave.

Defendant Burgmann accused Plaintiff of "blowing a sick check," i.e., abusing sick leave
because when a police officer went to Plaintiffs home to verify that she was "sick,"
Plaintiff did not answer the door.

At the time, there was construction noise in Plaintiff s neighborhood and she never heard

the officer knock at the door. In fact, the officer conveyed the fact of the construction

 

 

 

 

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noise to Defendant Michvech when he informed her that Plaintiff never answered the

door. t
Defendant Burgmann threatened her with discipline for "blowing a sick check."

Somewhat irrationally, he continued to argue with Plaintiff about the repair of the flat

tire, the fact that she had an expensive tire warranty, and that she failed to get a loaner

vehicle from the car dealer.

Plaintiff advised Defendant Burgmann that she had a loaner vehicle and it was parked

outside the office.

Plaintiff was shocked that Defendant Burgmann distorted the facts, condescended her for

 

such irrelevant and extraneous matters as her tire warranty, and accused her of abusing

sick leave.

Plaintiffs shock was compounded when, during the meeting, Defendant Michvech -- who

 

was one of the two supervisors she initially contacted when she had the fiat tire -- advised
that when one of her (Michvech's) other officers had a similar emergency, she recorded
his time off as a half-day sick and a half-day vacation.

Defendant Michvech never offered Plaintiff the same option as the other officer who
experienced a similar emergency; rather, she let the matter escalate to the point of

Defendant Burgmann threatening Plaintiff with discipline.

 

ln February 2018, Plaintiff was scheduled for an MS infusion treatment on Thursday,

February 8th. Plaintiff purposely scheduled the infusion for that day because it was her

 

regular day off.

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Case 2:18-cV-0516O-I\/|SG Document 1 Filed 11/29/18 Page 13 of 22

. In or around February 5th, there was anticipation that the Eagles Super Bowl Parade
(Eagles Parade Detail) would be held on February 8th and that Plaintiff would have to
relinquish her day off and work the Eagles Parade Detail.

Plaintiff discussed her dilemma with the FOP. Her union representative advised her to
submit a memo to her supervisors advising of her pre-scheduled infusion on February 8th
and her inability to work the Eagles Parade Detail.

Following FOP's advice, Plaintiff drafted a memo to Defendant Burgmann. Following
the chain of command, Plaintiffs memo was first reviewed by Defendant Michvech.
Defendant Michvech signed the memo, marked it "disapproved," and handed it back to
Plaintiff.

When Plaintiff asked why her request was denied, Defendant Michvech said: "You can't
take off on a detail."

Plaintiff tried to explain to Defendant Michvech the importance of the timing of the
infusion treatment, as it must coincide with her MRI's and blood work; however,
Defendant Michvech rebuffed Plaintiffs explanation

On February 6, 2018, Defendant Michvech told Plaintiff that Defendant Burgmann
wanted to see her in his office.

Based on Defendant Burgmann's ongoing hostility towards her, Plaintiff wanted to
contact the FOP first and request union representation for the meeting.

Defendant Michvech told Plaintiff to go directly to Defendant Burgmann's office without
calling the FOP because it was a "direct order."

Plaintiff assured Defendant Michvech that she was not disobeying Defendant Burgmann's

direct order, but that she wanted to phone the FOP.

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Defendant Michvech stormed away and returned shortly thereafter with Defendant
Burgmann and Lieutenant Harold Lloyd.

In the presence of many detectives and officers who were in the office that day,
Defendant Burgmann pointed his finger in Plaintiff‘s face and yelled: "GIVE ME YOUR
PHONE! HANG UP THE PHONE! !"

At this point, Plaintiff's union representative was on the other end of the line and could
hear Defendant Burgmann yelling at Plaintiff, instructing her to hang up the phone, get
out of her chair and proceed to his office.

Humiliated and frightened, Plaintiff was escorted into Defendant Burgmann's office.
When they got to his office, Defendant Burgmann informed Plaintiff that she cannot take
off from the Eagles Parade Detail, and that he cannot have his officers "disrespecting"
him.

When Plaintiff tried to explain that she has a serious medical appointment, Defendant
Burgmann was dismissive and reiterated that Plaintiff could not take off for the Eagles
Parade Detail.

Defendant Burgmann snapped back: "l don't care about your sick appointment, if you
take off, you will be penalized."

Defendants Burgmann and Michvech altogether disregarded Plaintiff‘s serious medical
condition and her need for an infilsion; they remained steadfast that Plaintiff must forego
her medical infusion in order to work the Eagles Parade Detail.

Likewise, neither Defendant ever provided Plaintiff ADA or Fl\/ILA information or

otherwise directed her to staff who could provide that information

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Plaintiff contacted the FOP and was crying hysterically over Defendant Burgmann's
disregard of her illness and his threats of discipline

lt was the FOP and Plaintiffs medical doctors -- not anyone of the Defendants --that
ultimately advised Plaintiff of her rights under the Family & Medical Leave Act.

The FOP contacted the PPD Deputy Commissioner on Plaintiffs behalf and provided the
Commissioner with Plaintiffs medical documentation

The Deputy Commissioner excused Plaintiffs requested absence from the February 8th
Eagles Parade Detail and granted Plaintiffs request to keep her medical appointment.
But for the FOP's intervention and direct contact with the PPD Commissioner, Plaintiff
would have had two options: either forego the infusion for her MS and work the Eagles
Parade Detail or keep her medical appointment in defiance of Defendant Burgmann's
order and incur discipline.

Ironically, soon after she disapproved Plaintiffs request for time off for her infusion,
Defendant Michvech was diagnosed with a serious medical condition

Defendant Michvech openly spoke about her medical condition and treatment

Unlike Plaintiff, Defendant Michvech's illness was not questioned or debated. Rather,
she was afforded all of the time she needed in order to get medical treatment.

On March 14, 2018, Plaintiff was interviewed by Lieutenant Lloyd as part of an internal
investigation regarding her alleged disobedience on February 6th when Defendant
Burgmann's gave her a "direct order" to appear in his office
On April 4, 2018, John Anselmo (at the time, Plaintiff s fiancé) wrote to the Deputy
Commissioner thanking him for relieving Plaintiff from the Eagles Parade Detail and

requesting that Plaintiff be transferred out of the Special Victims Unit because of

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Defendant Burgmann's threats and bullying which cause Plaintiff severe stress and
exacerbate her MS.

90. On the same day, Plaintiff applied for intermittent FMLA because "during symptom
exacerbations, [Plaintiff] may be unable to perform any job tasks and may require acute 1
care hospital treatmen ." ¢

91. Defendant Burgmann questioned PPD's Personnel Office about Plaintiffs medical {
condition and the information submitted by her doctor; the Office denied his request §
because it would violate the Health Insurance Portability & Accountability Act (HIPAA), 1
42 U.S.C. § 1320d-6.

92. In June 2018, as a result of the April 4th letter that Plaintiff s fiance' sent to the Deputy
Commissioner, Plaintiff was ultimately detailed out to the Gun Permit Unit; said detail is
an assignment and was not a transfer out of the Special Victims Unit.

93. Even after her transfer, Plaintiff continues to incur the wrath and hostility of Defendants
Burgmann and Michvech.

94. After Plaintiff was relocated to the Gun Permit Unit, Defendant Michvech directed
Plaintiff to complete certain case reports for the Special Victims Unit. Said assignment is
out of the ordinary and not typical when an officer has transferred out of a unit.

95. Sergeant Joseph McEntee even warned Plaintiffs new supervisor (Sergeant Carter-Smith)
that it would be unsafe for Plaintiff to come to the Special Victims Unit. Consequently,
Sergeant Carter-Smith escorted Plaintiff back to the Special Victims Unit when she
turned in the requested case reports.

COUNT I - TITLE VII VIOLATION

96. Plaintiff incorporates by reference the foregoing paragraphs, as if fully set forth herein

 

 

 

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97. Defendants Burgmann and Michvech retaliated against Plaintiff because of her 2016
complaint alleging gender discrimination

98. Since 2016, Defendants Burgmann and Michvech have consistently and repeatedly
harassed and bullied Plaintiff in retaliation for Plaintiff s 2016 complaint, forcing Plaintiff
to perform her job duties in a hostile work environment

99. Defendants' retaliation against Plaintiff violates Title VII. 42 U.S.C. 2000(e)(3)(a).

100. Said violations were done with malice and/or reckless indifference and Warrant the
imposition of punitive damages

101. As a direct and proximate result of Defendants' violation of Title VII, Plaintiff has
suffered damages and losses and has incurred attorneys' fees and costs.

COUNT II - ADA VIOLATION
(FAILURE TO ENGAGE IN INTERACTIVE PROCES§)

102. Plaintiff incorporates by reference the foregoing paragraphs, as if fully set forth
herein

103. The PPD is a "covered entity," and as defined by the ADA. 42 U.S.C § 12111(2).

104. Plaintiff suffers from MS, which is a "disability," as defined by the ADA. 42 U.S.C §
12102.

105. Plaintiff is an "otherwise qualified individual," who is able "to perform the essential
functions of the job with or without a reasonable accommodation . . . ." as defined by the
ADA. 29 C.F.R. § 1630.2(n).

106. With knowledge of Plaintiff s disability, Defendants failed to engage in the interactive
process, as required by the ADA. 29 C.F.R. pt 1630, App. §1630.9.

107. As a consequence of Defendants' refusal to engage in the interactive process with
Plaintiff regarding her disability, Defendants violated the ADA. 29 C.F.R. pt. 163 0, App.

§1630.9.
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108. Defendants' ADA violations were done with malice and/or reckless indifference and
warrant the imposition of punitive damages

109. As a direct and proximate result of Defendants' ADA violations, Plaintiff has suffered
damages and losses and has incurred attomeys' fees and costs.

COUNT III - ADA VIOLATION
(FAILURE TO PROVIDE REASONABLE ACCOMMODATION)

110. Plaintiff incorporates by reference the foregoing paragraphs, as if fully set forth
herein

111. As a result of Defendants' refusal to engage in the interactive process with Plaintiff,
they altogether failed to provide Plaintiff with a reasonable accommodation, as required
by the ADA. 42 U.S.C § 12112(b)(5)(A).

112. Defendants' ADA violations were done with malice and/ or reckless indifference and
warrant the imposition of punitive damages

113. As a direct and proximate result of Defendants' ADA violations, Plaintiff has suffered
damages and losses and has incurred attomeys' fees and costs.

COUNT IV - ADA VIOLATION
(DISPARATE TREATMENT)

114. Plaintiff incorporates by reference the foregoing paragraphs, as if fully set forth
herein

115. The ADA protects employees from disparate treatment by their employers when said
disparate treatment is adverse and due to employees' disability. 42 U.S.C. § 12112(a).

116. Defendants treated Plaintiff adversely in the terms and conditions of employment

because she suffered from a disability.

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117. Defendants harassed and bullied Plaintiff because of her disability and her need for an
accommodation

118. Defendants' ADA violations were done with malice and/or reckless indifference and
warrant the imposition of punitive damages

119. As a direct and proximate result of Defendants' ADA violations, Plaintiff has suffered
damages and losses and has incurred attomeys' fees and costs.

COUNT V - FMLA VIOLATION

120. Plaintiff incorporates by reference the foregoing paragraphs, as if fully set forth
herein

121. The FMLA protects an employee's job when the employee needs to take sick leave
for a "serious health condition." 29 U.S.C. § 2612(a).

122. Likewise, it is unlawful for an employer to retaliate or "discriminate against any
individual for opposing any practice made unlawful." 29 U.S.C. § 2615(a)(2).

123. An employer may not impede, discourage or interfere with an employee's exercise of
lawful rights under the FMLA. 29 U.S.C. § 2615(a)(1).

124. Plaintiff has MS, which is a "serious health condition," as defined by the Fl\/ILA. 29
U.S.C. § 2612(a)(1)(D).

125. Defendants knew that Plaintiff suffered from MS but threatened her with discipline
when she needed to take leave in order to get medical treatment

126. When Defendants denied Plaintiffs leave request for medical treatment, they
interfered with the lawful exercise of her FMLA rights, in violation of 29 U.S.C. §

2615(3)(1).

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127. Defendants' FMLA violations were done with malice and/or reckless indifference and
warrant the imposition of punitive damages

128. As a direct and proximate result of Defendants' Fl\/ILA violations, Plaintiff has
suffered damages and losses and has incurred attomeys' fees and costs

COUNT VI - 1983 VIOLATION

129. Plaintiff incorporates by reference the foregoing paragraphs, as if fully set forth
herein

130. Defendants' retaliatory conduct, as set forth herein, deprived Plaintiff of equal
protection under the law, as guaranteed by the 14th Amendment of the United States
Constitution.

131. Defendants' wrongful acts and violations were done with deliberate indifference to
the statutory and constitutional rights of Plaintiff.

132. As a direct and proximate result of Defendants wrongful acts and violations, Plaintiff
has suffered damages and losses and has incurred attorneys' fees and costs.

COUNT VII - PHRA VIOLATION

133. Plaintiff incorporates by reference the foregoing paragraphs, as if fully set forth
herein

134. Defendants' improper and retaliatory acts violated the PHRA, 43 Pa. Stat. §951 et seq.

135. Defendants' improper and retaliatory acts were intentional and willful.

136. As a direct and proximate result of Defendants' wrongful acts and violations, Plaintiff

has suffered damages and losses and has incurred attomeys' fees and costs.

COUNT VIII - PFPO VIOLATION

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137. Plaintiff incorporates by reference the foregoing paragraphs, as if fully set forth
herein

138. Defendants' improper and retaliatory acts violated the PFPO, Philadelphia Code § 9-
1 101 et seq.

139. Defendants' improper and retaliatory acts were intentional and willful.

140. As a direct and proximate result of Defendants' wrongful acts and violations, Plaintiff
has suffered damages and losses and has incurred attomeys' fees and costs

RELIEF
WHEREFORE, Plaintiff seeks damages and legal and equitable relief as a result of
Defendants' violations, and especially requests that the Court grant the following relief to
Plaintiff by:

a) declaring the acts and practices complained of to be in violation of Title Vll;

b) declaring the acts and practices complained of to be in violation of the ADA;

c) declaring the acts and practices complained of to be in violation of the FMLA;

d) declaring the acts and practices complained of to be in violation of § 1983;

e) declaring the acts and practices complained of to be in violation of the PHRA;

f) declaring the acts and practices complained of to be in violation of the PFPO

g) entering judgment against the Defendants and in favor of the Plaintiff in an amount to be
determined; awarding compensatory damages for past and future pain and suffering,
emotional upset, mental anguish, humiliation, and loss of life's pleasures, which Plaintiff
has suffered or may continue to suffer as a result of Defendants' improper conduct and

violation of Plaintiff s legal rights; awarding punitive damages to Plaintiff;

 

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h) awarding Plaintiff such other damages as are appropriate under Title VII § 1983, the

PHRA and the PFPO; and

i) awarding Plaintiff, the costs of suit, expert fees and other disbursements and reasonable

attomeys' fees; and granting such other and further relief as this Court may deem just,

proper, or equitable, including other equitable and injunctive relief providing restitution

for past violations and for the prevention of filture violations

Respectfully submitted,

BY: /s/ Brz'an R Mila'enberg
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DATED: 11-27-18

gx

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/j;

  

DATED: 11-27-18

 

